   Case: 1:19-cr-00567 Document #: 54 Filed: 08/01/19 Page 1 of 12 PageID #:212




                     UNITED STATES DISTRICT COURT
           NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


UNITED STATES OF AMERICA,                   )
                                            )
                               Plaintiff,   )
                                            ) Case No.: 19 CR 567-1
                   v.                       )
                                            )
ROBERT KELLY,                               )
                                            ) Hon. Harry D. Leinenweber
                         Defendant.         )

                        MOTION TO RECONSIDER BAIL

      NOW COMES the Defendant, ROBERT KELLY, through counsel, and

respectfully requests that this Court reconsider its decision holding Defendant

without bond pending trial. In support, Defendant, through counsel, states as

follows:

      I.    The Bail Reform Act is Designed to Permit Bail Pending
      Trial

      Bail pending trial has long been a part of this nation’s criminal process,

because every defendant is presumed innocent until proven guilty. Thus,

under the Bail Reform Act, courts “shall hold” detention hearings when the

case involves any one of the enumerated serious offenses outlined in

§3142(f)(1), or cases involving allegations of particularly dangerous criminal

activity, or when there are “serious” concerns about risk of flight or obstruction

of justice are present, §3142(f)(2), and determine whether there are conditions
    Case: 1:19-cr-00567 Document #: 54 Filed: 08/01/19 Page 2 of 12 PageID #:212




upon which a defendant can be released.1 The key question at the detention

hearing is “whether any condition or combination of conditions . . . will

reasonably assure the appearance of such person as required and the safety of

any other person and the community.” Id. § 3142(f). Detention is only proper

where, after this hearing, “the judicial officer finds that no condition or

combination of conditions will reasonable assure the appearance of the person

as required and the safety of any other person and the community.” Id.

§3142(C).

      In United States v. Byrd, the court cautioned “even after a hearing,

detention can be ordered only in certain designated and limited circumstances,

irrespective of whether the defendant’s release may jeopardize public safety.”

United States v. Byrd, 969 F.2d 106, 109-10 (5th Cir. 1992); United States v.

Chavez-Rivas, 536 F. Supp. 926 (E.D. Wisc. 2008), at 966.

      In this case, given Defendant’s lack of resources, willingness to submit

to electronic monitoring, and lack of contact with minors, history of

appearance, substantial monetary bond posted in State Court, and



1
  “The Bail Reform Act carefully limits the circumstances under which
detention may be sought to the most serious of crimes. See 18 U.S.C. §
3142(f) (detention hearings available if case involves crimes of violence,
offenses for which the sentence is life imprisonment or death, serious drug
offenses, or certain repeat offenders).”

United States v. Salerno, 481 U.S. 739, 747 (1987).


                                         2
    Case: 1:19-cr-00567 Document #: 54 Filed: 08/01/19 Page 3 of 12 PageID #:212




demonstrated ability to comply with bail restrictions, conditions could easily

be fashioned. Unfortunately, at the hearing here the Court never contemplated

“whether any condition or combination of conditions . . . will reasonably assure

the appearance of such person as required and the safety of any other person

and the community.” Id. § 3142(f).



       II.    The Court Incorrectly Applied the Bail Reform Act

       This Court must reconsider its decision to detain because it was based

on a flawed legal framework and a failure to apply the correct roadmap.2 The

inquiry required deliberation of the factors set forth in 18 USC §3142(g).

Instead, this Court was only focused on the nature of the charged crimes,

rather than Defendant’s risk of flight or danger to the community, when

evaluating whether there are reasonable conditions for bail. Rather than

considering the conduct as simply starting the process by shifting the burden

of persuasion, the Court applied it as the endpoint.

       Even in a rebuttable presumption case, the overall burden remains with

the government, not the Defendant:

       We turn now to the effect this presumption has on the court’s
       analysis. We join the rest of the circuits, which have considered

2 A motion for reconsideration is an appropriate means to correct manifest errors of law or
fact. Publishers Resource, Inc. v. Walker Davis Publications, Inc., 762 F.2d 557, 561 (7th Cir.
1985). Further, the Court has yet to enter the formal detention order required by 18 U.S.C.
§ 3142(i), so the detention order is not final.



                                              3
   Case: 1:19-cr-00567 Document #: 54 Filed: 08/01/19 Page 4 of 12 PageID #:212




      this issue in concluding that the presumption shifts the burden of
      production but not the burden of persuasion to the defendants.
      Jessup, 757 F.2d at 381-89; Chimurenga, 760 F.2d at 405; Fortna,
      769 F.2d at 251. This approach is consistent with the presumption
      of innocence enjoyed by a criminal defendant.

United States v. Portes, 786 F.2d 758, 764 (7th Cir. 1985).

      This Court wrongly presumed the allegations themselves justified

detention. They do not; they simply define the burden(s):

      The Bail Reform Act prescribes different burdens of proof
      depending on whether the question involves the efficacy of
      conditions to assure attendance at trial or the safety of the
      community. If the former, the standard is a preponderance of the
      evidence; if the latter, it is proof by clear and convincing evidence.
      18 U.S.C. 3142(f)(2)(B). The burden of proof by clear and
      convincing evidence is a greater burden of proof than
      preponderance of the evidence. Maynard v. Nygren, 332 F.3d 462,
      469 (7th Cir.2003). Clear and convincing evidence is evidence that
      places "in the ultimate fact-finder an abiding conviction that the
      truth of… [the] factual contentions are 'highly probable.'" Colorado
      v. New Mexico, 467 U.S. 310, 316, 104 S. Ct. 2433, 81 L. Ed. 2d 247
      (1984). See also United States v. Boos, 329 F.3d 907, 911 (7th
      Cir.2003).

United States v. Meschino, No. 10 CR 588-1, 2010 U.S. Dist. LEXIS 72055, at

*27 n.8 (N.D. Ill. July 19, 2010).      The law required the government to

demonstrate, by clear and convincing evidence, that there were no release

conditions that would ensure the safety of the community or the appearance of

the defendant. But the Court never reached that point, nor did the government.

      As reflected by the attached transcript, the Court did not consider

whether there were conditions which would overcome the rebuttable



                                        4
   Case: 1:19-cr-00567 Document #: 54 Filed: 08/01/19 Page 5 of 12 PageID #:212




presumption of detention. It erroneously relied upon the fact that a grand jury

indictment had been returned, commenting that “the grand jury found

probable cause of guilt.” Detention Transcript at pg. 31. Of course, a grand

jury does not do that, the grand jury only finds probable cause regarding

whether a crime has been committed.           And it does so in a one-sided

presentation, not an adversary hearing. A grand jury finding of probable cause

is far from guilt.   It certainly cannot substitute for clear and convincing

evidence.

      Here, the government argued defendant should be detained as a danger

to the community and as a flight risk. The United States Probation Officer

recommended release, with conditions that would reasonably assure the safety

of the community and Kelly’s appearance, namely home incarceration with

electronic monitoring and other conditions. Based on the Court’s statements,

it appears that the Court never considered those proposed conditions of release.

See, e.g., United States v. Sabhani, 493 F.3d 63, 74-75. (Court must consider

and explicitly state why conditions offered by Defendant would not ensure his

appearance.)

      Having stopped after the first step of the requisite analysis, the Court

skipped the critical second step, determining whether there were conditions of

release:




                                        5
   Case: 1:19-cr-00567 Document #: 54 Filed: 08/01/19 Page 6 of 12 PageID #:212




      A defendant cannot be detained as dangerous under §3142 (e),
      even if the presumption is not rebutted, unless a finding is made
      that no release conditions” will reasonably assure . . . the safety of
      the community . . . That finding cannot be based on evidence that
      he has been a danger in the past, except to the extent that his past
      conduct suggests the likelihood of future misconduct. This is,
      indeed, the very import of the presumption of dangerousness in §
      3142(e)… To rebut this presumption they need not necessarily
      show that they are not guilty of the charged crimes in the first
      place. They could also show that the specific nature of the crimes
      charged, or that something about their individual circumstances,
      suggests that “what is true in general is not true in the particular
      case . . .” United States v. Jessup, 757 F.2d 378, 384 (1st Cir. 1985).
      Any evidence favorable to a defendant that comes within a
      category listed in § 3142(g) can affect the operation of one or both
      of the presumptions, including evidence of their marital, family
      and employment status, ties to and role in the community, clean
      criminal record and other types of evidence encompassed in §
      3142(g)(3).

United States v. Dominguez, 783 F.2d 702, 707 (7th Cir. 1986)

      The burden for the defendant is low, all that is required is “some evidence

that he will not flee or endanger the community if released.” Dominguez at 707.

      The evaluation of bail requires a balance: liberty interests versus public

safety. That is why there only a narrowly crafted set of circumstances ever

require detention. After all, pretrial detention impacts a defendant’s ability to

prepare a defense, restricts his contact with friends and family, subjects him




                                        6
    Case: 1:19-cr-00567 Document #: 54 Filed: 08/01/19 Page 7 of 12 PageID #:212




to draconian conditions and rules, and bars him from making a living or

supporting others. 3

      Notably, the Court did not hear the specifics to any future dangerousness

in the proffered evidence. “A defendant cannot be detained as dangerous under

§ 3142(e), even if the presumption is not rebutted, unless a finding is made

that no release conditions "will reasonably assure . . . the safety of the

community . . ." (Emphasis added). That finding cannot be based on evidence

that he has been a danger in the past, except to the extent that his past conduct

suggests the likelihood of future misconduct.” Dominguez, 783 F.2d 702, 706-

07 (7th Cir. 1986).

      Here, the best evidence that Defendant is not a current danger is the

indictment itself. Let’s look at the dates of the offenses:

Count 1: 1998-1999

Count 2: 1998-1999

Count 3: 1998-1999

Count 4: 1998



3Mr. Kelly is being held in the “Special Housing Unit” (SHU) because of who he is,
not what he has done. That unit is also known as the “hole”. Accordingly, the
conditions are harsh. He is always locked up. There is no daily shower, no day room,
no television or radio, no contact with other inmates, no recreation, and phone
privileges are severely restricted. While others have face-to-face visits, in the SHU
they are not. He has had to request to terminate his child support obligation and his
girlfriends, with whom he lived, will have to move as a result of this incarceration.



                                         7
   Case: 1:19-cr-00567 Document #: 54 Filed: 08/01/19 Page 8 of 12 PageID #:212




Count 5: Conspiracy (obstruction) beginning in 1997;

     Overt Act A: 2007

     Over Act B: 2007

     Over Act C: 2008

     Overt Act D: 2013

     Over Act E: 2014

     Overt Act F: 2014

     Overt Act G: 2015

     Over Act H: 2015

Count 6: 2001-2007

Count 7: 2001-2002

Count 8: 2007

Count 9: 1999

Count 109: 1997-1998

Count 11: 1996

Count 12: 199-2000

Count 13: 1997-1998

     With the exception of some minor overt acts in 2015, over four years ago,

the allegations are decades old and as stale as used gym socks. To the extent

the government argued a serious risk of obstruction (18 U.S.C. 3142(f)(2)(B))

they offered no facts. The concern is a present or future risk. The charged


                                        8
   Case: 1:19-cr-00567 Document #: 54 Filed: 08/01/19 Page 9 of 12 PageID #:212




conduct, from the past, merely triggers the application of (f)(2)(B). It does not

provide the proof.

         Speculating, the Court commented that it would have been likely that,

had the prosecutors known about additional tapes at Mr. Kelly’s 2008 state

trial, they would have prevailed. That statement is without any basis in fact.

It presupposes the tapes were admissible. It also discounts the fact that the

alleged victim in that case, who admittedly the federal prosecutors now say is

cooperating with them, and her parents, who are apparently not, all testified

before the state grand jury, under oath, that she was no not the lady in the

video.

         Moreover, any suggestion Mr. Kelly should be detained because of

obstruction is impeached by the government’s own agreement that Mr.

McDavid and Mr. Brown, the co-defendant, did not have to be detained. It is

also impeached by the fact that although these federal investigations were no

secret and there have been pending state charges, no one has said anyone

associated with Mr. Kelly or Mr. Kelly himself has tried to influence them with

respect to any current investigation or charges.

         Further, the Court must look to see what conditions can be set to

mitigate this risk and it has not even attempted to do so. Mr. Kelly no longer

has the money or the entourage he once did to help him in his endeavors. Home

incarceration with close monitoring by pretrial services and limited access to


                                        9
    Case: 1:19-cr-00567 Document #: 54 Filed: 08/01/19 Page 10 of 12 PageID #:212




the internet will make it virtually impossible to attempt to contact any

witnesses without being caught. The idea that Mr. Kelly has the means and

wherewithal to obstruct any witness against him is frankly preposterous.

       The court also disregarded that any accusations of sex with a minor

dated back two decades.4 Notably, although the government alleges four videos

exist, they all involve the same person and relate to the same time frame—the

1990s. There is no suggestion Mr. Kelly ever distributed child pornography.

Nothing was found when a search warrant was executed at Mr. Kelly’s

condominium. Nothing was found at his studio when he was arrested on state

charges. Nothing was found because there is nothing to find.

       Likewise, Mr. Kelly presents no risk of flight. He is a lifelong resident of

Illinois. Mr. Kelly never missed a single court date, from 2002 to 2008, on his

previous case. The court did not consider that Mr. Kelly appeared for each and

every day of his trial and was present when the jury’s verdict was read. The

court never considered that Mr. Kelly has been aware of these federal

investigations and yet did not abscond. The court never considered that Mr.

Kelly boasted a substantial bond ($100,000.00) in connection with the now

pending state court proceedings. The court never considered that Mr. Kelly




4When previously charged Mr. Kelly was found not guilty by a jury after a lengthy trial.
https://www.nytimes.com/2008/06/14/arts/music/14kell.html)



                                          10
  Case: 1:19-cr-00567 Document #: 54 Filed: 08/01/19 Page 11 of 12 PageID #:212




does not have a passport. The court never considered that Mr. Kelly could be

monitored by an electronic monitoring bracelet or GPS bracelet.

      III.   Conclusion

      Simply put, despite the present allegations, there are conditions of

release for Mr. Kelly, who has no previous convictions, that can be fashioned

that eliminate nearly any risk of flight or danger to the community. He can be

confined to his home with electronic monitoring, given limited access to the

internet, no contact with minors, and monitored by closely by pretrial services.

Accordingly, bail should be set.




                                       11
  Case: 1:19-cr-00567 Document #: 54 Filed: 08/01/19 Page 12 of 12 PageID #:212




      WHEREFORE, the defendant respectfully requests for this Honorable

Court to order the defendant to be released on bond during the pendency of

this case, subject to whatever conditions the Court deems to be necessary.

                                            Respectfully submitted,
                                            /s/ Steven Greenberg



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                                       12
